
74 So. 3d 160 (2011)
Joshua MITCHELL, a/k/a Joshua Earl Mitchell, Appellant,
v.
STATE of Florida, Appellee.
No. 2D10-2442.
District Court of Appeal of Florida, Second District.
November 16, 2011.
James Marion Moorman, Public Defender, and Matthew D. Bernstein, Assistant Public Defender, Bartow, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Timothy A. Freeland, Assistant Attorney General, Tampa, for Appellee.
PER CURIAM.
In this direct appeal from his judgment and sentences, Joshua Mitchell challenges the imposition of sex offender probation *161 and his designation as a sexual predator. We affirm the judgment and sentences. However, our affirmance is without prejudice to Mr. Mitchell's right to file a timely, facially sufficient motion in accordance with Florida Rule of Civil Procedure 3.850. See Nedd v. State, 855 So. 2d 664 (Fla. 2d DCA 2003).
Affirmed.
WALLACE, KHOUZAM, and CRENSHAW, JJ., Concur.
